     Case 2:13-cv-01791-CB-CRE Document 13-1 Filed 06/16/14 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA


MATTHEW ONYSHKO and JESSICA                       :
ONYSHKO                                           :
h/w                                               :
                          Plaintiffs,             :
             vs.                                  :
                                                  :       NO. 2:13-CV-01791
NATIONAL COLLEGIATE ATHLETIC                      :
ASSOCIATION                                       :
                                                  :
                                   Defendant.     :

                                   PROPOSED ORDER

      AND NOW, this ___ day of _________________ 2014, upon consideration of Defendant

NCAA’s Motion to Dismiss Plaintiffs’ Complaint for Lack of Subject Matter Jurisdiction, the

accompanying memorandum of law, and any opposition thereto, it is hereby ORDERED and

DECREED that:

      1.     Defendant’s motion is GRANTED; and,

      2.     Plaintiffs’ Complaint is dismissed with prejudice.

      IT IS SO ORDERED.




                                                  ____________________________________
                                                  The Honorable Cathy Bissoon
                                                  United States District Judge
